Case 5:15-cv-11847-JCO-RSW ECF No. 11, PagelD.36 Filed 01/11/18 Page 1 of 6

UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,

Plaintiff,

VS. CIVIL ACTION NO.: 15-11847
PERITA FERGUSON HONORABLE: John Corbett O'Meara

Defendant, ] L E
and

JAN #1 2018
MICHIGAN DEPARTMENT OF TREASURY
U.S. DISTRICT COURT
Garnishee. FLINT, MICHIGAN

WRIT OF CONTINUING GARNISHMENT

GREETINGS TO: — Michigan Department of Treasury

Third Party Withholding Unit

P.O. Box 30785

Lansing, Michigan 48909

An application for a Writ of Continuing Garnishment against the property PERITA

FERGUSON whose SSN is ***-**-4104 has been filed with this Court. A judgment has been
entered in the above captioned case and there is presently owing the amount of $18,271.41,
including costs and interest, computed through January 10, 2018, from the defendant whose last
known address is: 37132 Fox Chase Apartment 43202, Farmington Hills, MI 48331-1810. The
United States is represented by Craig S. Schoenherr, Sr. of O'Reilly Rancilio PC at 12900 Hall
Road, Suite 350, Sterling Heights, Michigan 48313.
You are required by law to answer in writing, under oath, within ten (10) days, whether or

not you have in your custody, control or possession, any property owned by the debtor,

including non-exempt, disposable earnings.
Case 5:15-cv-11847-JCO-RSW ECF No. 11, PagelD.37 Filed 01/11/18 Page 2 of 6

You must file the original written answer to this writ within ten (10) days of your receipt
of this writ with the United States District Court Clerk at: Theodore Levin Courthouse, 231 West
Lafayette, 5" Floor, Detroit, Michigan 48226. Additionally, you are required by law to serve a
copy of your answer to this writ upon the debtor at: 37132 Fox Chase Apartment 43202,
Farmington Hills, MI 48331-1810, and upon the United States Attorney, Craig S. Schoenherr, Sr.
of O'Reilly Rancilio PC at 12900 Hall Road, Suite 350, Sterling Heights, Michigan 48313. Filing
and service may be accomplished by using the United States mail.

Under the law, there may be property which is exempt from this writ of Garnishment. All
non-exempt property belonging to PERITA FERGUSON including but not limited to twenty-
five percent (25%) of the non-exempt disposable earnings owed to PERITA FERGUSON must
be withheld from and retained by you pending further order of the Court.

Pursuant to 15 U.S.C. §1674, an employer is prohibited from discharging the defendant
from employment by reason of the fact that his/her earnings have been subject to garnishment for
any one indebtedness.

If you fail to answer this writ to withhold property in accordance with this writ, the
United States of America may petition the Court for an order requiring you to appear before the
Court. If you fail to appear or do appear and fail to show good cause why you failed to comply
with this writ, the Court may enter a judgment against you for the value of the debtor’s non-
exempt property. Its unlawful to pay or deliver to the defendant any item attached by this writ.
Additionally, you may be held liable for a reasonable attorney’s fee to the United States of
America. Questions are to be directed to Craig S. Schoenherr, Sr. of O'Reilly Rancilio PC at

12900 Hall Road, Suite 350, Sterling Heights, Michigan 48313.
Case 5:15-cv-11847-JCO-RSW ECF No. 11, PagelD.38 Filed 01/11/18 Page 3 of 6

UNITED STATES DISTRICT COURT CLERK
EASTERN DISTRICT OF MICHIGAN

By: Sy SAD nO? LO =
Deputy Clerk

Dated: L-MAS

 
Case 5:15-cv-11847-JCO-RSW ECF No. 11, PagelD.39 Filed 01/11/18 Page 4 of 6

UNITED STATES DISTRICT COURT I] LL
FOR THE EASTERN DISTRICT OF MICHIGAN E

UNITED STATES OF AMERICA, JAN 11 2018

US. DistR
ICT co
FLINT, MICH) gaat

VS. CIVIL ACTION NO.: 15-11847

Plaintiff,

PERITA FERGUSON HONORABLE: John Corbett O'Meara
Defendant,

and

MICHIGAN DEPARTMENT OF TREASURY

Garnishee.

CLERK’S NOTICE OF GARNISHMENT

You are hereby notified that a garnishment is being taken by the United States of
America which has a judgment in Court No. 15-11847 in the United States District Court for the
Eastern District of Michigan, Southern Division in the sum of $18,149.17. A balance of
$18,271.41 remains outstanding.

In addition, you are hereby notified that there are exemptions under the law which may
protect some of the property from being taken by the Government if PERITA FERGUSON can
show that the exemptions apply. Attached is a summary of the major exemptions which apply in
Michigan.

The exemptions that apply are those of the state where you have resided in the last 180
days. You have a right to ask the Court to apply any exemptions to which you feel you are

entitled. You have a right to ask the court to return your property to you if you think you do not
Case 5:15-cv-11847-JCO-RSW ECF No. 11, PagelD.40 Filed 01/11/18 Page 5 of 6

owe the money to the Government that it claims you do, or if you think the property the
Government is taking qualifies under one of the above exemptions.

If you want a hearing, you must notify the court within 20 days after receipt of the
notice. Your request must be in writing. If you wish, you may use the request for hearing
included in this package. You must either mail it or deliever it in person to: the Clerk of the
United States District Court at Theodore Levin Courthouse, 231 W. Lafayette, 5 Floor, Detroit,
Michigan 48226. You must also send a copy of your request to Craig S. Schoenherr, Sr. of
O'Reilly Rancilio PC at 12900 Hall Road, Suite 350, Sterling Heights, Michigan 48313 notifying
the Government that you want a hearing.

The hearing will take place within 5 days after the Clerk receives your request, if you ask
for it to take place that quickly, or as soon after that as possible.

At the hearing you must be prepared to explain to the judge why you think the
Government is not entitled to the funds garnished.

You will receive a copy of the answer, as prepared by the Garnishee. If you do not agree
with the information as set forth by the garnishee you may request a hearing. If you want a
hearing, you must notify the court within 20 days after receipt of the answer. Your request
must be in writing.

If you wish, you may use the request for hearing included in this package. You must
either mail it or deliver it in person to: the Clerk of the United States District Court at Theodore
Levin Courthouse, 231 W. Lafayette, 5'" Floor, Detroit, Michigan 48226. You must also send a
copy of your request to Craig S. Schoenherr, Sr. of O'Reilly Rancilio PC at 12900 Hall Road,

Suite 350, Sterling Heights, Michigan 48313 notifying the Government that you want a hearing.
Case 5:15-cv-11847-JCO-RSW ECF No. 11, PagelD.41 Filed 01/11/18 Page 6 of 6

The hearing will take place within 10 days after the Clerk receives your request, if you
ask for it to take place that quickly, or as soon after as possible. At the hearing you may explain
to the judge why you object to the information contained in the answer.

If you think you live outside the Federal judicial district in which the court is
located, you may request, not later than 20 days after you receive this notice, that this
proceeding be transferred by the court to the Federal judicial district in which you reside.
You must make your request in writing, and either mail it or deliver it in person to: the Clerk of
the United States District Court at Theodore Levin Courthouse, 231 W. Lafayette, 5" Floor,
Detroit, Michigan 48226. You must also send a copy of your request to Craig S. Schoenherr, Sr.
of O'Reilly Rancilio PC at 12900 Hall Road, Suite 350, Sterling Heights, Michigan 48313.

Be sure to keep a copy of this notice for your own records. If you have any questions
about your rights or about this procedure, you should contact a lawyer or an office of public legal
assistance. The Clerk of the Court is not permitted to give legal advice, but can refer you to other
sources of information.

UNITED STATES DISTRICT COURT CLERK

EASTERN DISTRICT OF MICHIGAN

By: ‘SS Lrtwe Ld) SS
Deputy Clerk

 

Dated: LU -18
